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 4
                              UNITED STATES DISTRICT COURT
 5
                           EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,                  )
 7                                              )    NO.       CR-11-0107-WFN-12
                              Plaintiff,        )
 8                                              )
            -vs-                                )    ORDER MODIFYING
 9                                              )    CONDITIONS OF RELEASE
     CODY LEE POOLE,                            )
10                                              )
                              Defendant.        )
11
12         Pending before the Court is Defendant’s Supplemental Motion to Modify Release
13 Conditions (ECF No. 1133). This issue initially was heard by Magistrate Imbrogno, but due
14 to her unavailability at this time, this Court considers the Motion. Magistrate Imbrogno
15 previously ordered that Defendant’s proposed new residence be investigated by the pretrial
16 release officer. Upon review of the report and upon no objection from the Government or
17 Defendant’s supervising Probation Officer, the Court finds that the move of residence is
18 appropriate.
19         The Court has reviewed the file and Motions and is fully informed. Accordingly,
20         IT IS ORDERED that:
21         1. Defendant's Motion to Modify Conditions of Release, filed July 19, 2012, ECF
22 No. 1024, is GRANTED.
23         2. Defendant's Supplemental Motion to Modify Release Conditions, September 13,
24 2012, ECF No. 1133, is GRANTED.
25         3. Defendant’s conditions of release are MODIFIED to permit the Defendant, Cody
26 Poole, to reside with Kyle and Sara Speller at 2503 W. Holyoke, Spokane, Washington.

     ORDER MODIFYING CONDITIONS
     OF RELEASE - 1
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 1          4. Except as modified above, the present conditions of the Defendant’s release shall
 2 remain the same, in full force and effect.
 3          The District Court Executive is directed to file this Order and provide copies to
 4 counsel, Magistrate Judge Imbrogno AND TO United States Probation Officer Anne
 5 Sauther.
 6          DATED this 17th day of September, 2012.
 7
 8                                                    s/ Wm. Fremming Nielsen
                                                         WM. FREMMING NIELSEN
 9   09-17-12                                    SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER MODIFYING CONDITIONS
     OF RELEASE - 2
